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                                  EXHIBIT A

                               April 7 DOJ Letter
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                                                               U.S. Department of Justice
                                                               Civil Division
                                                               Federal Programs Branch



                                                                      April 7, 2023

 Robert B. Pincus
 Special Master
 U.S. District Court for the District of Delaware

         Re:      Crystallex International Corp. v. Bolivarian Republic of Venezuela,
                     No. 17-151-LPS (D. Del.)

 Dear Special Master Pincus:

         This letter is in response to your inquiries in furtherance of the United States District Court
 for the District of Delaware’s order that you “solicit and attempt to gain clarity or guidance from
 the United States Department of the Treasury’s Office of Foreign Asset Control (‘OFAC’) of its
 support for (or non-opposition to), the launch of the Marketing Process by the Special Master, the
 viability of the Marketing Process, and any additional feedback that the Special Master believes
 will more likely result in a value-maximizing Sale Transaction.” Sales Order, ECF No. 481, at
 11. 1 On behalf of the United States Government, I am authorized to convey the following:

        First, the United States Government acknowledges that there are a number of necessary
 steps prefatory and antecedent to the consummation of the Sales Transaction, including but not
 limited to the Marketing and Bidding Processes established in the Sales Order [hereinafter
 “Prefatory Steps”]. See, e.g., Sales Order, ECF No. 481, at 6-9, 15-19, 20-24. The United States
 Government further understands that this Court has already decided that the existing OFAC
 “sanctions regime does not require a specific license from OFAC before the Court may adopt a
 Sales Procedure Order,” and that “the current sanctions regime does not prohibit the sales process.”
 See Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, No. MC 17-151-LPS, 2022 WL
 611586, at *11, *16 (D. Del. Mar. 2, 2022), certification granted, judgment modified, No. MC 17-
 151-LPS, 2022 WL 1404702 (D. Del. May 4, 2022).

        Under the Court’s ruling, the United States Government understands that the Court has
 held that a specific license is not necessary for, and that the current Venezuela sanctions regime
 does not prohibit, the Prefatory Steps antecedent to the consummation of the Sales Transaction to
 occur. While the United States Government does not necessarily agree with the Court’s
 construction of OFAC’s regulations and authorities with respect to Prefatory Steps, nevertheless
 the United States Government is not seeking to contest that construction in this case and considers
 the Court to have resolved this issue as to the parties’ claims. The United States Government will
 accordingly issue public guidance that, under these circumstances, OFAC will not take
 enforcement action against individuals or entities for participating in or complying with the

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           Capitalized terms used in this letter have the meaning set out in the Court’s Sales Order, ECF No. 481,
 unless otherwise defined.
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 Prefatory Steps set out in the Sales Order, as well as those who engage in transactions that are
 ordinarily incident and necessary to participation in and compliance with such steps, e.g., potential
 or actual credit counterparties. The United States Government anticipates publishing guidance
 affirming this posture at a later date. The United States Government’s view regarding its
 nonenforcement policy expressed above is limited to the facts and circumstances of this case.

         Second, the United States Government notes that the Court accurately has “recogni[zed]
 that a specific license will be required to execute a sale.” Crystallex, 2022 WL 611586, at *15.
 As is standard for OFAC’s process before providing a license for the disposition of blocked
 property, the United States Government will require due diligence about the identity of a potential
 purchaser and will consider relevant details of the proposed transaction, as will any other United
 States Government departments or agencies, as warranted by their procedures. Before a potential
 purchaser has been identified, it would be premature to issue any such license or express a
 definitive view on the issuance of a specific license in a future scenario.

         The United States Government nevertheless wishes to convey that OFAC intends to
 implement a favorable licensing policy for license applications in connection with the execution
 of a sale as contemplated in the Sales Order or, as applicable, the negotiation of a settlement
 agreement among the relevant parties. As with all OFAC licenses and statements of licensing
 policy, this licensing policy would be without prejudice to reconsideration if U.S. foreign policy
 and national security interests materially change and may be revoked or modified at any time.

         The United States Government anticipates formalizing a public notification of a favorable
 licensing policy at a later date. To be clear, any such public notification of a favorable licensing
 policy will be limited to a license authorizing transactions otherwise prohibited by OFAC
 sanctions; this does not reflect any United State Government opinion on any other regulatory
 requirements, reviews, or approvals that may be required or warranted to finalize any sale.

        We appreciate your consideration.

        Sincerely,


        /s/ Joseph E. Borson
        Joseph E. Borson, Trial Attorney
        Alexander K. Haas, Director
        Diane Kelleher, Assistant Director

        Civil Division, Federal Programs Branch
        U.S. Department of Justice




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